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                            IN THE UNITED STATES DISTRICT COURT

                             FOR THE DISTRICT OF NEW MEXICO

UNITED STATES OF AMERICA,

            Plaintiff,

       v.                                                               Civil. No.:

$231,850.00 IN U.S. CURRENCY,

         Defendant In Rem.


                         VERIFIED COMPLAINT FOR FORFEITURE IN REM

       Plaintiff, United States, brings this complaint in accordance with Supplemental Rule G(2)

of the Supplemental Rules for Certain Admiralty or Maritime Claims and Asset Forfeiture

Actions, and alleges as follows:

                                       NATURE OF THE ACTION

       1)         This is a civil action to forfeit and condemn to the use and benefit of the United

States of America moneys, negotiable instruments, securities, and other things of value furnished

or intended to be furnished by any person in exchange for a controlled substance or listed

chemical in violation of the Controlled Substances Act; proceeds traceable to an exchange of

moneys, negotiable instruments, securities, and other things of value for a controlled substance

or listed chemical in violation of the Controlled Substances Act; and/or property involved in bulk

cash smuggling. The Defendant in rem is subject to forfeiture pursuant to 21 U.S.C. § 881(a)(6)

and 31 U.S.C. § 5332(a) and (c).

                                          DEFENDANT IN REM

       2)         The Defendant in rem consists of the following:

                   a)      $231,850.00 IN U.S. CURRENCY.
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(Hereafter referred to as the “Defendant Property”).

        3)      The Defendant Property was seized by United States Customs Border and

Protection on or about June 20, 2023.

        4)      The Defendant Property is now, and during the pendency of this action will be, in

the jurisdiction of this Court.

                                     JURISDICTION AND VENUE

        5)      The United States District Court for the District of New Mexico has subject

matter jurisdiction under 28 U.S.C. §§ 1345, 1355(a) and 1356.

        6)      Venue for this civil forfeiture action is proper in this district pursuant to 28 U.S.C.

§§ 1355 and 1395, as acts or omissions giving rise to the forfeiture took place in this district and

the property is found in this district. Upon the filing of this complaint, the Defendant Property

will be arrested by execution of a Warrant for Arrest in Rem in the District of New Mexico.

                                                FACTS

        7)      On June 30, 2023, on Southbound Highway 54 in New Mexico, an Otero Sheriff’s

Department Deputy Diaz stopped a Chevrolet Silverado 2500 pulling a flatbed trailer bearing a

Chevrolet Suburban because there was no license plate on the trailer. The driver of the Chevrolet

Silverado was Jorge Luis Andazola- Gomez. There were four additional individuals in the

Chevrolet Silverado consisting of one adult female, one juvenile female, and two adult males.

One of the adult males, Noe Andrade Cepeda, was identified as the owner of the Suburban. The

driver and the two adult males appeared to be nervous.

        8)      After issuing a warning for the traffic violation to Andazola-Gomez, Deputy

Rankin asked Andazola-Gomez if he would consent to allow Deputy Rankin to ask additional

questions. Andazola-Gomez agreed. Deputy Rankin then requested and received Andazola-



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Gomez’s consent to conduct a canine inspection and hand search of both the Chevrolet Silverado

and the Chevrolet Suburban.

       9)      Border Patrol Agent Weems responded with his canine partner and performed a

canine inspection. The canine alerted positively to the vehicles for the odor of an illegal

controlled substance. A subsequent search resulted in the discovery of 14 bundles of U.S.

currency concealed within the spare tire of the Chevrolet Suburban.

       10)     The value of the 14 bundles of U.S. currency totaled $231,850.

       11)     None of the five occupants of the Chevrolet Silverado claimed ownership of the

Defendant Property.

                                    FIRST CLAIM FOR RELIEF

       12)     The United States incorporates by reference the allegations in paragraphs 1

through 11 as though fully set forth herein.

       13)      Title 21, United States Code, Section 881(a)(6) subjects to forfeiture “[a]ll

moneys, negotiable instruments, securities, or other things of value furnished or intended to be

furnished by any person in exchange for a controlled substance or listed chemical in violation of

this subchapter, all proceeds traceable to such an exchange, and all moneys, negotiable

instruments, and securities used or intended to be used to facilitate any violation of this

subchapter.”

       14)     Defendant Property was furnished, or and intended to be furnished, in exchange

for a controlled substance, and constitutes proceeds traceable to such an exchange, and was used

or intended to be used to facilitate a violation of the Controlled Substances Act and is thus

subject to forfeiture to the United States pursuant to 21 U.S.C. § 881(a)(6).




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                                   SECOND CLAIM FOR RELIEF

       15)      The United States incorporates by reference the allegations in paragraphs 1

through 11 as though fully set forth herein.

       16)      Title 31, United States Code, Section 5332(c)(1) subjects to forfeiture any

property involved in a violation of Title 31 United States Code, Section 5332(a), or a conspiracy

to commit such violation, and any property traceable to such violation or conspiracy.

       17)      Property involved in the offense includes any currency or other monetary

instrument that is concealed or intended to be concealed in violation of 5332(a) or a conspiracy

to commit such violation, any article, container, or conveyance used, or intended to be used, to

conceal or transport the currency or other monetary instrument, and any other property used, or

intended to be used, to facilitate the offense. 31 U.S.C. § 5332(c)(3)

       18)      The Defendant Property was concealed or intended to be concealed in violation of

31 U.S.C. § 5332(a).

       19)      The Defendant Property was involved in a violation of 31 U.S.C. § 5332(a), and a

conspiracy to commit such violation, and constitutes property traceable to such violation or

conspiracy and is thus subject to forfeiture to the United States pursuant to 31 U.S.C.

§ 5332(c)(1).

       WHEREFORE, Plaintiff seeks arrest of Defendant Property and forfeiture of same to

Plaintiff, determination of the validity and priority of claims of the Claimants and any Unknown




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claimants to the Defendant Property, costs, and expenses of seizure and of this proceeding, and

other proper relief.



                                                    Respectfully submitted,

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